 Case 2:23-cr-00599-MCS Document 81 Filed 05/10/24 Page 1 of 9 Page ID #:2318



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13                           UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15   UNITED STATES                                Case No. 2:23-CR-00599-MCS-1
16                         Plaintiff,             Hon. Mark C. Scarsi
17          vs.                                   DEFENDANT’S NOTICE OF
                                                  MOTION AND MOTION FOR STAY
18   ROBERT HUNTER BIDEN,                         PENDING APPEAL
19                         Defendant.              Date: June 3, 2024
                                                   Time: 3:00 PM
20                                                 Place: Courtroom 7C
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                  DEFENDANT’S NOTICE OF MOTION AND MOTION FOR STAY PENDING APPEAL
                                   CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 81 Filed 05/10/24 Page 2 of 9 Page ID #:2319



 1                           NOTICE OF MOTION AND MOTION
 2   TO: SPECIAL COUNSEL DAVID WEISS, PRINCIPAL SENIOR ASSISTANT
 3   SPECIAL COUNSEL LEO J. WISE, SENIOR ASSISTANT SPECIAL COUNSEL
 4   DEREK E. HINES
 5           PLEASE TAKE NOTICE that at 3:00 p.m. on Monday June 3, 2024, or as soon
 6   as this Court deems appropriate, Defendant Robert Hunter Biden, by and through his
 7   attorneys of record, will, and hereby does, respectfully move this Court for an order
 8   granting Mr. Biden’s Motion to Stay Pending Appeal.1
 9           Mr. Biden respectfully requests that this Court stay all proceedings in this case
10   pending his interlocutory appeal to the United States Court of Appeals for the Ninth
11   Circuit.
12           Mr. Biden’s counsel told the prosecution during a teleconference on May 10,
13   2024, that Mr. Biden intended to file the instant motion. The prosecution has indicated
14   it intends to oppose.
15
16
         Dated: May 10, 2024                  Respectfully submitted,
17
                                              WINSTON & STRAWN LLP
18
19                                            By: /s/ Angela M. Machala
                                                 Angela M. Machala (SBN: 224496)
20                                               Abbe David Lowell
                                                 Christopher D. Man
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22                                                Attorneys for Robert Hunter Biden
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     1
       Under the Court’s rules, the first date counsel can notice for the hearing on this motion
27   is June 3rd. Because that date is after the now scheduled final pretrial conference on
     May 29, defense counsel will confer with the prosecution about agreeing on an
28   expedited schedule for briefing and hearing.

                 DEFENDANT’S NOTICE OF MOTION AND MOTION FOR STAY PENDING APPEAL
                                  CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 81 Filed 05/10/24 Page 3 of 9 Page ID #:2320



 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2       I.   INTRODUCTION AND FACTUAL BACKGROUND.
 3            While the Court recognizes Mr. Biden maintains his position that this Court was
 4   divested of jurisdiction upon filing of his notice of appeal (DE 70), Mr. Biden
 5   appreciates the caution this Court expressed in yesterday’s order that “absent a request
 6   for [a stay], Mr. Biden ignores the Court’s orders at his own peril.” (DE 80 at 3.)
 7   Accordingly, Mr. Biden respectfully requests that this Court stay the proceedings in this
 8   case pending the return of the mandate from the Ninth Circuit. As the Court has pointed
 9   out, “[t]he Ninth Circuit’s jurisdiction over Mr. Biden’s interlocutory appeal is already
10   the subject of a fully briefed motion to dismiss pending in that court.” (DE 80 at 2.)
11   The Court’s “concerns of judicial economy and comity among the federal courts” would
12   best be addressed by a stay of these proceedings until the Ninth Circuit resolves the
13   pending appeal. Id.
14            Mr. Biden’s counsel is currently handling filings in four separate criminal
15   proceedings, (United States v. Biden, No. 23-cr-00599-MCS (C.D. Cal.); United States
16   v. Biden, No. 24-2333 (9th Cir. filed Apr. 15, 2024); United States v. Biden, No. 23-cr-
17   00061-MN-1 (D. Del.); United States v. Biden, 24-1703 (3d Cir. filed Apr. 17, 2024)),2
18   while simultaneously still trying to move ahead and prepare for two trials—one before
19   this Court and one in the District of Delaware—both presently scheduled to begin in
20   weeks. See Ex. 3 at 11. Converging deadlines and overlapping issues create the risk of
21   additional conflicting orders from different courts, a result that has already occurred in
22   the orders in this Court and Delaware concerning the Diversion Agreement.
23            Despite the enormous time and logistical pressures of the pleadings and
24   proceedings in recent weeks, counsel has continued to prepare for the coming trial in
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26   2
       Mr. Biden, in his concurrently filed Request for Judicial Notice (“RJN”), requests that
     this Court take notice of the recent filings in his cases pending before the Ninth Circuit,
27   the Third Circuit, and the District of Delaware.
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                  DEFENDANT’S NOTICE OF MOTION AND MOTION FOR STAY PENDING APPEAL
                                   CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 81 Filed 05/10/24 Page 4 of 9 Page ID #:2321



 1   this case. Counsel’s diligent trial preparation has included reviewing voluminous
 2   financial records, attempting to and now finalizing the retention of defense experts
 3   (including on the critical issue of tax), identifying possible exhibits, researching and
 4   drafting jury instructions, locating fact witnesses and seeing if they can meet and
 5   eventually testify, and identifying and conferring with Special Counsel on issues (some
 6   complicated) for possible evidentiary motions in limine. Preparing for this trial is
 7   uniquely challenging, given the high-profile and politically charged environment.
 8   Indeed, counsel has spoken with numerous prospective expert witnesses who have
 9   eventually declined to participate in the case, either due to expressed fear for their
10   careers and safety or because the organizations with which they are associated would
11   not permit them to work on what is perceived as a high-profile and divisive case. See
12   Declaration of Angela M. Machala at ¶¶ 3–4.
13         As counsel for Mr. Biden continues to work on four different fronts—considering
14   further proceedings in the Third Circuit, awaiting a jurisdictional decision in the Ninth
15   Circuit and formulating potential next steps in those courts, and addressing the pretrial
16   schedule and preparation required in this Court and in Delaware—we do not wish to
17   proceed at Mr. Biden’s peril. To the contrary, counsel has been working around the
18   clock to satisfy our constitutional, legal, and ethical obligations to Mr. Biden, whose
19   interests in having us provide competent and effective assistance of counsel are
20   threatened absent a stay of proceedings pending appeal and the ability to address all the
21   pending issues in all the courts.
22   II.   LEGAL STANDARD
23         “A trial court may, with propriety, find it is efficient for its own docket and the
24   fairest course for the parties to enter a stay of an action before it, pending resolution of
25   independent proceedings which bear upon the case.” Leyva v. Certified Grocers of
26   California, Ltd., 593 F.2d 857, 863 (9th Cir. 1979). This power is “incidental to the
27   power inherent in every court to control the disposition of the causes on its docket with
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                DEFENDANT’S NOTICE OF MOTION AND MOTION FOR STAY PENDING APPEAL
                                 CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 81 Filed 05/10/24 Page 5 of 9 Page ID #:2322



 1   economy of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am.
 2   Co., 299 U.S. 248, 254 (1936); see Rivers v. Walt Disney Co., 980 F. Supp. 1358, 1360
 3   (C.D. Cal. 1997) (explaining that courts have the power “to manage the cases on its
 4   docket and to ensure a fair and efficient adjudication of the matter at hand”) (citation
 5   omitted). This Court has applied Landis where there is a request for a stay based on an
 6   interlocutory appeal. 3 See Peck v. County of Orange, 528 F.Supp.3d 1100, 1105–06
 7   (C.D. Cal. 2021); McPeters v. United States, 220 F. Supp. 3d 1024, 1026–27 (C.D. Cal.
 8   2016) (“When deciding whether to exercise its discretion to stay a civil or criminal
 9   proceeding, a federal court in the Ninth Circuit must balance several potentially
10   competing interests.” (citing Landis test)) (emphasis added).
11         Courts consider the following three factors to determine if a stay of proceedings
12   is appropriate: “[1] the possible damage which may result from the granting of a stay,
13   [2] the hardship or inequity which a party may suffer in being required to go forward,
14   and [3] the orderly course of justice measured in terms of the simplifying or
15   complicating of issues, proof, and questions of law which could be expected to result
16   from a stay.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005) (citing
17   Landis, 299 U.S. at 254–55).
18
     3
       One criminal case in this District—United States v. Olivar, 2014 WL 12707482 (C.D.
19   Cal. Mar. 31, 2014)—analyzed a motion to stay pending appeal under an alternative test
20   outlined in Nken v. Holder, 556 U.S. 418, 426 (2009). However, Olivar concerned a
     motion to stay an order, specifically, an order revoking the defendant’s citizenship.
21   Olivar, 2014 WL 12707482, at *1. As this Court has explained, “the Nken test ‘is
22   applicable when there is a request to stay a district court’s judgment or order pending
     appeal of the same case,’ while Landis applies to the decision to stay proceedings ….”
23   Peck, 528 F. Supp. 3d at 1106 (citing Kuang v. U.S. Dep’t of Def., 2019 WL 1597495,
     at *3 (N.D. Cal. Apr. 15, 2019) (citation omitted) (emphasis in original)). Here, as in
24   other cases involving a stay of proceedings, “the overarching question is [] whether
25   going forward with the litigation will be inefficient for the parties and the court…”
     Peck, 528 F. Supp. 3d at 1106 (citing Kuang, 2019 WL 1597495, at *3); see Hart v.
26   Charter Comms, Inc., 2019 WL 7940684, at *4 (C.D. Cal. Aug. 1, 2019) (explaining
27   that “[u]nlike a stay of an order or judgment, a stay of proceedings does not require the
     court to interfere with the authority of another court or administrative agency.”).
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               DEFENDANT’S NOTICE OF MOTION AND MOTION FOR STAY PENDING APPEAL
                                CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 81 Filed 05/10/24 Page 6 of 9 Page ID #:2323



 1   III.   ARGUMENT
 2             A. Mr. Biden’s Appeal Is Grounded in Existing Ninth Circuit Law
 3          In its recent filings, the Government repeatedly disparages Mr. Biden for
 4   pursuing an interlocutory appeal and for presenting arguments to the Ninth Circuit in
 5   support of the appeal.     See DE 76 (accusing Mr. Biden of “dishonest[y]”, making
 6   “false” claims, and “invent[ing a] legal proposition.”); see also United States v. Biden,
 7   24-2333 (9th Cir. 2024) (DE 13.1 at 2–3) (mischaracterizing appeal as a “tactic” “to
 8   delay the trial of this case”). In fact, Mr. Biden’s right to pursue an interlocutory appeal
 9   is grounded in existing Ninth Circuit law. See, e.g., United States v. Morales, 465 F.
10   App’x 734, 736 (9th Cir. 2012); United States v. Sandoval-Lopez, 122 F.3d 797, 799–
11   800 (9th Cir. 1997). In light of these Ninth Circuit decisions, Mr. Biden’s appeal is far
12   from being a false claim or a delaying tactic—it is based in existing case law from this
13   Circuit, and it is well within his rights to pursue, especially because the right being
14   asserted includes “an entitlement not to stand trial or face the other burdens of
15   litigation.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985) (emphasis added).
16          Nor has Mr. Biden has chosen intentionally to “ignore” or “defy” the Court’s
17   orders, as the Special Counsel repeatedly claims. See, e.g., DE 78 at 1. Although Mr.
18   Biden has operated under his good faith belief that the appeal automatically divested
19   the District Court of jurisdiction and that such divestment included the deadlines set
20   forth in the Scheduling Order, Mr. Biden appreciates the Court’s analysis of the
21   divestiture rule and, in particular, the Court’s statement that “having failed to seek a stay
22   of this Court’s orders regarding trial preparation, . . . Mr. Biden ignores the Court’s
23   orders at his own peril.” (DE 80 at 3.) Mr. Biden has not and would never intentionally
24   ignore or defy the Court’s orders, and, therefore, seeks through this motion a stay of the
25   existing deadlines in this case during the pendency of his appeal.
26
27             B. All Relevant Factors Weigh In Favor Of A Stay Pending Appeal
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                DEFENDANT’S NOTICE OF MOTION AND MOTION FOR STAY PENDING APPEAL
                                 CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 81 Filed 05/10/24 Page 7 of 9 Page ID #:2324



 1         All of the factors that courts apply in deciding whether a stay is appropriate under
 2   Landis weigh in favor of issuing a stay pending appeal in this case. See Lockyer, 398
 3   F.3d at 1110.
 4                   1. No Damage Would Result From Granting Mr. Biden’s Request for a
 5                      Stay
 6         First, there is no “damage which may result from the granting of a stay.” Id. The
 7   possibility of damage to the Government from a stay of these proceedings is basically
 8   nonexistent, as it is unlikely to “dramatically postpone the timeline of this case” (Peck,
 9   528 F. Supp. 3d at 1107), as this “Court anticipates that the Ninth Circuit may resolve
10   the motion before it in a similarly expeditious manner” as the Third Circuit. (DE 80 at
11   2.) The Government would not be prejudiced by a stay—this case was only filed 5
12   months ago (DE 1), and no continuances have been sought or granted to date.
13                   2. Mr. Biden Will Suffer Significant Hardship If This Trial Proceeds As
14                      Scheduled
15         Second, by contrast, “the hardship or inequity which a party may suffer in being
16   required to go forward” absent a stay would be considerable. Lockyer, 398 F.3d at 1110.
17   Although Mr. Biden is not required to “make a clear case of hardship or inequity in
18   being required to go forward” as there is no “fair possibility that the stay for which he
19   prays will work to damage someone else,” he nonetheless clearly meets such a standard.
20   Landis, 299 U.S. at 255.
21         Mr. Biden would stand to suffer significant prejudice in the absence of a stay;
22   namely, punishment for pursing his right not to be tried. Every minute that Mr. Biden’s
23   attorneys devote toward vindicating his right not to be tried is a minute not spent
24   preparing for trial. See Ride & Show Eng’g, Inc. v. Walt Disney Parks & Resorts, L.L.C.,
25   2006 WL 8435021, at 5 (C.D. Cal. 2006) (explaining that the hardship of preparing for
26   trial in two different courts at the same time “is a matter of proper concern to this Court
27   in assessing the merits of the present motion.”). As there are only so many minutes in
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                DEFENDANT’S NOTICE OF MOTION AND MOTION FOR STAY PENDING APPEAL
                                 CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 81 Filed 05/10/24 Page 8 of 9 Page ID #:2325



 1   the day, Mr. Biden “will suffer irreparable damage and a miscarriage of justice” in the
 2   absence of a stay. CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962).
 3         Nevertheless, as discussed above, Mr. Biden’s counsel has not neglected trying
 4   to both pursue his appellate issues and diligently preparing for not one, but two trials
 5   virtually back-to-back on two coasts. In doing so, counsel has encountered unexpected
 6   difficulties which make compliance with the current trial schedule a nearly
 7   insurmountable hardship, particularly while continuing to pursue Mr. Biden’s appeals.
 8   As explained above, finding qualified expert witnesses willing to address the complex
 9   tax issues involved in the case has been difficult, in part because of the high profile and
10   politically charged nature of the matter. Likewise, devising a jury selection process that
11   will protect Mr. Biden’s right to a fair and impartial jury is exceedingly difficult, given
12   his last name alone. These unexpected difficulties in trial preparation, coupled with all
13   of the ongoing appellate litigation, seriously threaten counsel’s ability to provide
14   competent and effective counsel to Mr. Biden—and not for want of working as hard as
15   possible.
16                  3. Judicial Economy Weighs in Favor of a Stay
17         Third, “the orderly course of justice measured in terms of the simplifying or
18   complicating of issues, proof, and questions of law which could be expected to result
19   from a stay”—i.e., judicial economy—weigh strongly in favor of staying the case.
20   Lockyer, 398 F.3d at 1110. In the context of the Landis test “‘considerations of judicial
21   economy are highly relevant.’” Long v. Weeks, 2023 WL 8165527, at *4 (C.D. Cal.
22   Mar. 16, 2023) (citing Gustavson v. Mars, Inc., 2014 WL 6986421, at *3 (N.D. Cal.
23   Dec. 10, 2014) (citation omitted)).        As Your Honor’s recent order explained,
24   “[p]rudential concerns of judicial economy and comity among the federal courts
25   counsel against this Court rendering an opinion on the Ninth’s Circuit’s jurisdiction in
26   response to this emergency application.” (DE 80 at 2.) Those same concerns—judicial
27   economy and comity among the federal courts—support granting Mr. Biden’s request
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                 DEFENDANT’S NOTICE OF MOTION AND MOTION FOR STAY PENDING APPEAL
                                  CASE NO. 2:23-CR-00599-MCS-1
 Case 2:23-cr-00599-MCS Document 81 Filed 05/10/24 Page 9 of 9 Page ID #:2326



 1   for a stay. The pleadings in all four courts are inextricably intertwined. If proceedings
 2   in this Court continue on the current schedule, “[t]he parties and the courts will waste
 3   time and resources litigating and adjudicating the cases contemporaneously, and
 4   parallel litigation runs the risk of inconsistent rulings and judgments.” Alcantara v.
 5   United Furniture Indus., Inc., 2023 WL 8114867, at *2 (C.D. Cal. Oct. 18, 2023)
 6   (Scarsi, J.).
 7   IV.    CONCLUSION
 8          For these reasons, Mr. Biden respectfully requests this Court to stay proceedings
 9   in this case pending his interlocutory appeal.
10
11   Date: May 10, 2024                       Respectfully submitted,
12                                            By: /s/ Angela M. Machala
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                 DEFENDANT’S NOTICE OF MOTION AND MOTION FOR STAY PENDING APPEAL
                                  CASE NO. 2:23-CR-00599-MCS-1
